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FDA seeks suicide warning on epilepsy drugs - More heal

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FDA seeks suicide warning on epilepsy drugs
Agency wants ‘black box' label, says patients face twice the risk

At Assocuted Press
updated 2:08 p.m. CT, Mon., Juty. 7, 2008

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FDA urging black box warning for epilepsy drugs
WASHINGTON - The Food and Drug
Administration hopes to add its most serious
warning labet to epilepsy drugs, based on
evidence they increase the risk of suicide in
patients.

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In materials posted online Monday, FDA scientists
proposed adding a "black box" warning about
suicide risks to all drugs used to treat seizures.
The agency released the proposal ahead of a
meeting Thursday, where outside experts will
weigh-in on the drugs’ risks.

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FDA said in January its analysis of nearly 200 Most viewed on msnbc.com

studies showed patients taking anti-seizure drugs

were more likely to have suicidal thoughts and

behaviors than those taking dummy pills. While the reported problems
were extremely rare, FDA found drug-treated patients did face about
twice the risk. On average, those patients experienced suicidal thoughts
or behavior 0.43 percent of the time, compared with 0.22 percent of
those taking dummy pills.

Story centinues below |

 

FDA sctentists said they are determined to move forward with revised
warning fabels for all drugs in the class, although It is not entirely
understood why they increase suicidal behaviors,

“There seems to be no compelling reason to ignore what appears to be
a very clear empirical finding of increase in suicidality, despite no
obvious explanation,” states FDA Director of Neurology Products Russell
Katz, in the briefing documents posted online.

Anti-seizure drugs are used for a variety of illnesses in addition to
epilepsy, including migraines, certain ferve-pain disorders, and’
psychiatric diseases such as bipolar disorder.

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